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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




                                                    Case No. 3:16-md-2738 (MAS)/(RLS)

  IN RE: JOHNSON & JOHNSON TALCUM                           MLD Case No. 2738
  POWDER PRODUCTS MARKETING,
  SALES PRACTICES AND PRODUCTS                         [FILED ELECTRONICALLY]
  LIABILITY LITIGATION
                                                         Return Date: January 2, 2024




                         DECLARATION OF JAMES F. CONLAN


 I, JAMES F. CONLAN, declare:

                          Personal Qualifications and Basis of Knowledge

         1.      I   make this declaration based on personal knowledge and in opposition to


 Defendants Johnson & Johnson and LTL Management, LLC (collectively, J&J's) Order to Show

 Cause Seeking to Disqualify Andy D. Birchfield, Esq. and Beasley Allen Crow Methvin Portis &

 Miles, P.C. (Beasley Allen) from this litigation and remove Beasley Allen from the Plaintiffs’

 Steering Committee.
        2.    I received my juris doctor in 1988 from the University of Iowa College of Law.

         3.      Since my graduation from law school in 1988, I have had several law firm jobs. I
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 served as Global Practice Leader of Sidley Austin’s world-wide Restructuring Practice where I

 practiced for 32 years. Most recently I served as a Partner and Global Co-Head of Restructuring

 at Faegre Drinker Biddle & Reath, LLP until 2022.

         4.      During my tenure as Partner and Global Co-Head of Restructuring at Faegre

 Drinker Biddle & Reath, LLP, I represented J&J.

         5.      In March of 2022, I co-founded Legacy Liability Solutions LLC (Legacy). I

 currently serve as the Chief Executive Officer of Legacy.

         6.      In March of 2022, I became a non-practicing lawyer. I am active and authorized to

 practice law, but I do not practice law and have no clients.

         7.      At no point in time have I ever been a member, partner, employee or counsel at

 Beasley Allen, Mr. Birchfield’s law firm.

      J&J’s Baseless Allegations and My Thirty-Five (35) Years of Ethical Conduct and
               Compliance with the Attorney Rules of Professional Conduct

         8.      I am well aware of the Rules of Professional Conduct, including RPC 1.6

 Confidentiality of Information. This Rule states from the outset: “A lawyer shall not reveal

 information relating to representation of a client . . . .” The attorney-client privilege is the bedrock

 of client communications and I have understood this—and acted accordingly—since I took and

 passed the bar exam. Similarly, I have at all relevant times been aware of and complied with RPC

 1.9(a) and 1.9(c), which govern an attorney’s professional and ethical obligations to former clients.

         9.      Consistent with the Rules of Professional Conduct, I have never disclosed to Mr.

 Birchfield or any member of his firm, Beasley Allen, any confidential information belonging to

 J&J—nor that of any other client from my previous years of practice.

         10.     Moreover, neither Legacy nor I have any J&J privileged or confidential information

 that is required for Legacy to consensually transact with J&J to solve J&J’s current and future talc

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 liability (with finality); the Legacy model applies similarly to all solvent mass tort defendants.

        Under 28 U.S.C. 1746, I hereby declare under penalty of perjury that the foregoing is true

 and correct.



                       17 2023
 Executed on December ___,

                                                               ____________________________
                                                               JAMES F. CONLAN
                                                               Chief Executive Officer
                                                               Legacy Liability Solutions LLC




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